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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Rondevoo Technologies, LLC
                                      Plaintiff,
v.                                                       Case No.: 1:18−cv−06212
                                                         Honorable John J. Tharp Jr.
ZTE (USA) Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 31, 2018:


        MINUTE entry before the Honorable John J. Tharp, Jr: Attorney Erik Dykema's
motion for leave to appear pro hac vice [20] is granted. No appearance on the motion is
required. Counsel is directed to file his appearance on behalf of defendant.Mailed
notice(sxw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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